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                        IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

ELIZABETH THORNHILL,                            *
                                                *
                        Plaintiff,              *
                                                *
vs.                                             *       No. 4:10CV01564 SWW
                                                *
LAW OFFICE OF STEPHEN P. LAMB,                  *
                                                *
                        Defendant.              *
                                                *

                                     ORDER OF DISMISSAL

       Pursuant to the parties’ stipulation of dismissal filed on December 7, 2010 [docket entry

4], and the Court’s Order dated February 2, 2011 [docket entry 5], the Court hereby dismisses

this complaint with prejudice.

       DATED this 22nd day of March, 2011.



                                                    /s/Susan Webber Wright

                                                    UNITED STATES DISTRICT JUDGE
